                                                   Case 2:22-cv-05199-DSF-GJS   Document 66-3     Filed 04/17/25   Page 1 of 2 Page ID
                                                                                      #:1194



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                                                     9                       UNITED STATES DISTRICT COURT
                                                    10          CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
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                                                    12   JOEL W. HAY PhD, an individual,        Case No. 2:22-cv-5199 DSF (GJSx)
                700 N. CENTRAL AVENUE, SUITE 460




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PAZZANI & SANDHU LLP

                  GLENDALE, CALIFORNIA 91203




                                                                    PLAINTIFF,
                                                    14                                          [PROPOSED] ORDER RE
                                                    15   v.                                     DISMISSAL OF ENTIRE ACTION
                                                                                                WITH PREJUDICE
                                                    16   The UNIVERSITY OF SOUTHERN
                                                    17   CALIFORNIA, et al.,                    [Fed. R. Civ. P. 41(a)]

                                                    18              DEFENDANT.
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                                                                   [PROPOSED] ORDER RE DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
                                                   Case 2:22-cv-05199-DSF-GJS     Document 66-3     Filed 04/17/25   Page 2 of 2 Page ID
                                                                                        #:1195



                                                     1         After considering the parties’ Joint Stipulation for Dismissal of Entire Action
                                                     2   with Prejudice Pursuant to Federal Rule of Civil Procedure 41(a), and good cause
                                                     3   appearing, IT IS HEREBY ORDERED that this action is dismissed with prejudice.
                                                     4
                                                     5         IT IS SO ORDERED.
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                                                     8   Dated:
                                                                                               The Honorable Dale Fischer
                                                     9
                                                                                               United States District Judge
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                700 N. CENTRAL AVENUE, SUITE 460




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PAZZANI & SANDHU LLP

                  GLENDALE, CALIFORNIA 91203




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                                                                    [PROPOSED] ORDER RE DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
